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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

  BRETT GROVES,
                                                     Case No.: 0:23-cv-60751-XXXX
             Plaintiff,

  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC.,

          Defendant.
  _____________________________/

   DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC’S ANSWER
        AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

        COMES NOW, the Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC

 (“Defendant HRRG”), by and through its undersigned counsel, hereby files its Answer and

 Affirmative Defenses to Plaintiff’s Complaint and herein states as follows:

        Admitted for the purposes of claims identification only, Defendant denies any allegation

 of violation of the FDCPA and demands strict proof thereof.

                                 JURISDICTION AND VENUE

        1.       Admitted for purposes of venue and jurisdiction only; otherwise denied.

        2.       Admitted for purposes of venue and jurisdiction only; otherwise denied.

        3.       Admitted for purposes of venue and jurisdiction only; otherwise denied.

        4.       Admitted for purposes of venue only; otherwise denied.

                                            PARTIES

        5.       Admitted for purposes of venue and jurisdiction only; otherwise denied.

        6.       Admitted for purposes of venue and jurisdiction only; otherwise denied.
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                                 DEMAND FOR JURY TRIAL

        7.      Defendant requests trial by jury as to any issues remaining after the consideration

 of dispositive motions.

                                        ALLEGATIONS

        8.      Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct

 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        9.      Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct

 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        10.     Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct

 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        11.     Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct

 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        12.     Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct




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 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        13.        Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct

 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        14.        Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct

 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        15.        Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct

 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        16.        Defendant lacks sufficient knowledge to either admit or deny the allegations

 contained in this paragraph until such a time that Defendant has had the opportunity to conduct

 adequate discovery to confirm or refute the statements alleged in this paragraph. Therefore,

 Defendant shall deny the paragraph at this time.

        17.        Admitted to the extent that Defendant was contractually retained by the original

 creditor to seek payment for a past due medical debt obligation claimed due by the original creditor

 from Plaintiff.

        18.        Admitted to the extent that Defendant utilized interstate communications to seek

 payment of past due debt obligations claimed due by the original creditors. Otherwise, denied.



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           19.   Admitted to the extent that Defendant utilized interstate communications to seek

 payment of past due debt obligations claimed due by the original creditors. Otherwise, denied.

           20.   Admitted to the extent that Defendant utilized interstate communications to seek

 payment of past due debt obligations claimed due by the original creditors. Otherwise, denied.

           21.   Admitted.

           22.   Admitted.

           23.   Admitted.

           24.   Admitted.

           25.   Admitted.

           26.   Admitted.

           27.   Admitted.

           28.   Admitted.

           29.   Admitted to the extent that Defendant provided the Plaintiff with the required

 Model Validation Notice pursuant to Regulation F and the Fair Debt Collection Practices Act.

 Otherwise denied.

           30.   Admitted to the extent that Defendant provided the Plaintiff with the required

 Model Validation Notice pursuant to Regulation F and the Fair Debt Collection Practices Act.

 Otherwise denied.

           31.   Denied. Defendant demands strict proof thereof.

                                         COUNT I- FDCPA
                                           1692e(2)(A)

           32.   Defendant re-alleges its response to paragraphs 1 through 31 above as if fully stated

 herein.




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        33.     Admitted to the extent that the content and context of the provisions within Section

 440.13(2)(a) are self-evident. Defendant denies any allegation that Defendant’s actions violate any

 provision stated herein; Defendant demands strict proof thereof.

        34.     Admitted to the extent that the content and context of the provisions within Section

 440.13(13)(a) are self-evident. Defendant denies any allegation that Defendant’s actions violate

 any provision stated herein; Defendant demands strict proof thereof.

        35.     Denied; Defendant demands strict proof thereof.

        36.     Admitted to the extent that the content and context of the provisions within Section

 1692e(2)(a) are self-evident. Defendant denies any allegation that Defendant’s actions violate any

 provision stated herein; Defendant demands strict proof thereof.

        37.     Denied; Defendant demands strict proof thereof.

        38.     Denied; Defendant demands strict proof thereof.

        39.     Denied; Defendant demands strict proof thereof.

        40.     Denied; Defendant demands strict proof thereof.

        41.     Denied; Defendant demands strict proof thereof.

                                   AFFIRMATIVE DEFENSES

 First Affirmative Defense

        Defendant affirmatively alleges that Defendant is not liable for the alleged actions or

 inactions of other third parties and/or any of their employees, agents, or principals.

 Second Affirmative Defense

        Defendant affirmatively alleges Plaintiff’s Complaint fails to state a cause of action against

 this Defendant upon which relief may be granted.




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 Third Affirmative Defense

        Defendant affirmatively alleges that Plaintiff’s claims for actual damages are not actionable

 since the alleged damages are speculative and are not the proximate cause of any action or inaction

 of Defendant.

 Fourth Affirmative Defense

        Defendant affirmatively alleges that to the extent that any allegations exceed one (1) year

 from the date of filing the Complaint, such claims or allegations are barred by the statute of

 limitations under Section 1692k, namely, Fair Debt Collection Practices Act (“FDCPA”).

 Fifth Affirmative Defense

        Defendant affirmatively states that if the debt is judicially determined to be a debt incurred

 during the course and scope of Defendant’s employment and occurred as a business-related debt

 claimed due by the employer, then Defendant is not liable to Plaintiff under the FDCPA as the

 debt would not be a “consumer debt” as the FDCPA defines that term.

 Sixth Affirmative Defense

        While Defendant denies that Plaintiff has been damaged in any way, if it should be

 determined that Plaintiff has been damaged, then Defendant alleges such damage was not caused

 by Defendant but was proximately caused or contributed to by the conduct of others for whom

 Defendant is not responsible or liable.

 Seventh Affirmative Defense

        Defendant affirmatively alleges that the alleged actions of Defendant and its agents and

employees are protected by the “bona fide error” defense pursuant to Section 1692k of the Fair

Debt Collection Practices Act (FDCPA) because such actions or inactions if they occurred, were




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not intentional and resulted from a bona fide error notwithstanding the Defendant’s maintenance of

procedures reasonably adapted to avoid such errors.

 Eighth Affirmative Defense

        Plaintiff is not entitled to recover any damages, or any recovery awarded should be reduced

 by the amount of damages which reasonably could have been avoided because Plaintiff failed to

 take reasonable steps to mitigate damages concerning the matters alleged in the Complaint.

        WHEREFORE, Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC.,

 requests that this Court dismiss Plaintiff’s Complaint at Plaintiff’s cost and that Defendant be

 awarded reasonable attorneys’ fees and costs as provided for under applicable law.


        Dated this 24th day of April 2023.


                                                      Respectfully submitted,

                                                      /s/ Ernest H. Kohlmyer, III
                                                      Ernest H. Kohlmyer, III




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

 April 24, 2023, via the Court Clerk’s CM/ECF system, which will provide notice to the following:

 Thomas Patti, Esquire at Tom@pzlg.legal and Victor Zabaleta, Esquire at Victor@pzlg.legal, of

 the law firm of Patti Zabaleta Law Group, Paul A. Herman, Esquire of Consumer Advocates Law

 Group, PLLC, at paul@consumeradvocatelaw.com, and Joel A. Brown, Esquire of Friedman &

 Brown, LLC, at joel.brown@friedmanandbrown.com.



                                    /s/ Ernest H. Kohlmyer, III
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